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                        EXHIBIT A
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Hyundai Opt Out List

        Last Name               First Name       Middle Name    State
 1      Adams                   Melanie                         IN
 2      Afrouznia               Sasan                           CA
 3      Aitkenhead              Paul                            MA
 4      Alijan                  Mehdi                           TX
 5      Allen                   Leah                            FL
 6      Allen                   Virginia         Hillard        TX
 7      Ally                    Akbar                           WI
 8      Alsayyed                Abdel            Hadi O         AZ
 9      Alvarez                 Graciela                        NJ
 10     Alvarez                 Ruben                           NJ
 11     Amaro                   Mayra                           CA
 12     Anderson                Bruce            H.             CA
 13     Anderson                Lori                            AZ
 14     Andonizio               Teresa                          PA
 15     Andrews                 Ed               Raymond        CA
 16     Andrews                 Lynn             Ellen          CA
 17     Anspach                 Gabriel          Earl I.        -
 18     Anspach                 Lark             Marie          -
 19     Awadallah               Jessica                         CA
 20     Ayers                   Martha           Alicia         TX
 21     Bailey                  Allyson          Stiles         MT
 22     Balfour                 Kerstin                         CA
 23     Banning                 Carla                           CA
 24     Banning                 Thomas                          CA
 25     Bates                   Amy              F.             TX
 26     Bates                   Roy              C.             TX
 27     Batten                  Sharon           A.             VA
 28     Beacham                 Rick                            MO
 29     Belmontes               Damian           Guzman         CA
 30     Bennett                 Lorna            L.             ID
 31     Bennett                 Stuart           Dale           VA
 32     Berres                  Nancy                           MN
 33     Biasotti                James                           CA
 34     Bierfeldt               Peggy            K.             NY
 35     Black                   Lester                          FL
 36     Blanchard               Jo Ann                          MN
 37     Blanco                  Angela                          CA
 38     Bocanegra               Migdalia                        NJ
 39     Boquetti                Rafael                          DE
 40     Bosack                  Karen            Ann            PA

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 41     Boswell                 James            M.             TX
 42     Boughey                 Linda            K.             -
 43     Bowling                 James            L.             KY
 44     Brotman                 Christopher      J.             CA
 45     Broussard               Lisa                            FL
 46     Brown                   Caroline         A.             PA
 47     Brown                   Franklin         C.             PA
 48     Brown                   Lakeisha         R.             VA
 49     Brown                   Wilda            June           OK
 50     Browne                  William          J.             TX
 51     Bruemmer                Sharon                          MO
 52     Buchanan                Katherine        Elizabeth      MD
 53     Bunge                   Mary             Kay            MN
 54     Campos                  Elizabeth                       CA
 55     Campos                  Jose             L.             CA
 56     Campos                  Maria            Soledad        CA
 57     Cancel                  Kevin            Torres         PA
 58     Carey                   Robert           P.             NJ
 59     Carillo-Tellez          Esmeralda                       CA
 60     Carranza                Josue                           CA
 61     Carter                  James            R.             VA
 62     Centeno                 Javier                          CA
 63     Cervantes               Irma                            CA
 64     Cherry                  Ann                             CA
 65     Chirkova                Svetlana         Alekseevna     FL
 66     Church                  Denaise                         CA
 67     Cimino                  Elena            L.             NJ
 68     Cisneros                Carmelita        M.             TX
 69     Citrone                 Deborah          Jeanne         MD
 70     Clifford                Eugene           Joseph         FL
 71     Coelho                  Erica                           CA
 72     Conway                  Ryan             Charles        CA
 73     Cooper                  Gary             L.             NJ
 74     Corbett                 Rose             M.             PA
 75     Coronel                 Alejandro        Lopez          CA
 76     Cortes                  Daniela                         CA
 77     Cox                     Charles          W.             CA
 78     Cox                     Laura            A.             CA
 79     Coyle                   Sandra                          NJ
 80     Crabtree                Robin            L.             VA
 81     Cressy                  Jessica                         CA
 82     Crouch                  Mary             Celeste        AZ
 83     Cruz                    Ramfis                          FL

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 84     Currie                  Nancy            E.             FL
 85     D'Amario                Lincoln                         CA
 86     D'Amario                Zatrea                          CA
 87     Daniels                 David            K.             MN
 88     David                   Jeffrey          D.             CA
 89     Davis                   Ashley                          GA
 90     Davis                   Bradford         Craig          FL
 91     Davis-Britner           Jodie                           WV
 92     Dawson                  Kathleen         E.             MD
 93     Dawson                  Stephen          B.             MD
 94     De Leon                 Natalie                         CA
 95     De Leon Juarez          Delmy                           CA
 96     De Leyva                Socorro          R.             CA
 97     de Seife                Suzanne          A.             PA
 98     De Waard                Dulce            De             CA
 99     De Waard                Jeramy           De             CA
 100    DeCarlo                 Susan                           AZ
 101    Del Villar Flores       Leticia                         CA
 102    DelValle                Basilo                          NJ
 103    Demer                   Saul             R.             GA
 104    Desir                   Marcel                          FL
 105    Desir                   Wilder                          FL
 106    Deutsch                 Eleanor                         FL
 107    Devorah                 Carrie                          VA
 108    Devoto                  Stephanie                       FL
 109    DeWitt                  Melvin                          -
 110    Diaz                    Brianna          G.             CA
 111    DiMarcantonio           Christopher                     NJ
 112    Ditalia                 Lisa                            PA
 113    Dominguez               Olga             Garcia         TX
 114    Dominguez Jr.           Santiago                        TX
 115    Dougale                 Carmen           M.             CA
 116    Dudley                  Carolyn          R.             OK
 117    Dudley                  David            B.             OK
 118    Dyson                   Tamar                           CA
 119    Eckes                   Betty            J.             WI
 120    Egwuekwe                Ejike            O.             NY
 121    Ehrle                   Patricia         Lynn           CA
 122    Eisler                  James                           TX
 123    Eisler                  Joyce                           TX
 124    Elizalde                Raul                            OK
 125    Emanuel                 Linda                           CA
 126    Espada                  Kari             E.             VA

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 127    Esposito                Cynthia                         CA
 128    Failing                 Bryan                           CA
 129    Fells                   David                           CA
 130    Fickie                  Kenneth                         MA
 131    Fickie                  Lori-Ann                        MA
 132    Field                   Frederick        H.             WA
 133    Field                   Judith           A.             WA
 134    Firl                    Breanna                         CA
 135    Firl                    Mike                            CA
 136    Fischer                 James            Daniel         MO
 137    Fisher                  Donna            J.             MO
 138    Flores                  Conrado                         CA
 139    Flores                  Liz                             CA
 140    Fraedrick               Walter                          WI
 141    Frazier                 Lori             Elaine         VA
 142    Freedline               Charles          L.             PA
 143    Friedel                 William          M.             GA
 144    Frometa                 Wilmer                          CA
 145    Frye                    Margaret                        CA
 146    Frye                    Noble                           CA
 147    Gaines                  Lakisha          J.             VA
 148    Garcia                  Felix                           NJ
 149    Garcia                  Mario                           CA
 150    Gardner                 Kasey            Breaker        FL
 151    Garrett                 Angela                          OR
 152    Garrett                 Shirley          Ann            NM
 153    Garza                   Antonio                         TX
 154    Gaspard                 Darlene                         LA
 155    Gaytan                  Beatriz                         CA
 156    Gentry                  Melodie                         GA
 157    Gerber                  Christian        M.             CA
 158    Gerber                  Erik             L.             CA
 159    Giesmann                Stefanie         Lynne          MN
 160    Giffin                  Daniel           R.             PA
 161    Gillespie               Edward                          PA
 162    Glewwe                  Barbara                         -
 163    Glewwe                  Dale                            -
 164    Goffney                 Shardai                         CA
 165    Gomez                   Maria                           CA
 166    Gomez                   Nito                            CA
 167    Gonzales                Bert             A.             CA
 168    Gonzales                Gilberto                        CA
 169    Gordon-Keyes            Dondie                          VA
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 170    Graybow                 Stuart           Gerald         NY
 171    Green                   Germain                         CA
 172    Green                   Mitchell                        CA
 173    Green                   Sheridan         Michael        NV
 174    Griego                  Elaina                          CA
 175    Griffin                 Debra            R.             CA
 176    Griffiths               Stephen          R.             MA
 177    Griffiths               Virginia                        CA
 178    Grimes                  Molina           T.             TN
 179    Grimes                  William          A.             TN
 180    Gugino                  Gabrielle                       NY
 181    Guido                   Sylvia           C.             CA
 182    Guillory                Marguerite       M.             CO
 183    Guminah                 Anthony                         CA
 184    Guminah                 Claudette                       CA
 185    Gurschick               Fritz                           ME
 186    Hald                    Ronnie                          CO
 187    Halifko                 Katherine        A.             NJ
 188    Hall                    Beverly          M.             CA
 189    Hall                    Donesha                         WA
 190    Hall                    James            W.             CT
 191    Hall                    John             R.             OH
 192    Hall                    Lois                            CT
 193    Halpin                  Ellen            Donovan        FL
 194    Hamilton                Starla                          GA
 195    Hand                    Lisa                            FL
 196    Hardie                  Toni             Nicole         GA
 197    Hartsgrove              Harold           W.             PA
 198    Harvey                  James            W.             PA
 199    Heredia                 George                          CA
 200    Herit                   Karen                           PA
 201    Hernandez               Adolfo                          CA
 202    Hernandez               Janet                           CA
 203    Herrick                 Joanna           L.             CT
 204    Hesters                 Tony             Keith          FL
 205    Higbee                  Daniel           J.             MI
 206    Hileman                 Kelly            L.             MO
 207    Hileman                 Terrill          W.             MO
 208    Hinojos                 Denise           Guereca        CA
 209    Hinojos                 Ernie                           CA
 210    Hobbs                   Clinton          F.             CA
 211    Hoffman                 Carol                           CA
 212    Hoffman                 Eileen                          FL

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 213    Hoffman                 Joel                            CA
 214    Holland                 Jacob            Andrew         VA
 215    Holland                 James            Andrew         VA
 216    Holland                 Kimberly         Sirk           VA
 217    Holmes                  John             Edwards        MO
 218    Horacio                 Reyna                           CA
 219    Hoskins                 Cynthia          Rae            GA
 220    Hoskins                 Isaac            C.             DC
 221    Houang Kieu Le          My                              CA
 222    Hughes                  Robert                          CA
 223    Humphrey                Edward           Guy            NC
 224    Hunter                  Carol            S.             TX
 225    Hurley                  Timothy          E.             AL
 226    Hwang                   Young            Ik             CA
 227    Iacone-Balick           Lucy             A.             NY
 228    Inzunza                 Loretta                         CA
 229    Irick                   Bryan                           MO
 230    Iskandaryan             Ashot                           CA
 231    Iskandaryan             Valentina                       CA
 232    Ivors                   Kelly                           CA
 233    Izzard Jr.              Cathy            R.             VA
 234    Izzard Jr.              Johnny                          VA
 235    Jackson                 Dawn                            IN
 236    Jackson                 Joseph                          IN
 237    James                   Belinda          M.             TX
 238    James                   Michael          F.             WA
 239    Jensen                  Kyong                           WI
 240    Jeong                   Karen            Yoon           CA
 241    Johnson                 Allen            M.             CT
 242    Johnson                 Asia                            FL
 243    Johnson                 Carol                           OH
 244    Johnson                 Cheryl                          -
 245    Johnson                 Paul             Leroy          NV
 246    Johnson                 Richard                         OR
 247    Johnson                 Romona                          FL
 248    Johnson                 Rueben                          FL
 249    Johnston                Todd             Alan           OH
 250    Jones                   Todd             A.             OR
 251    Jones                   Carol                           CA
 252    Jones                   David                           CA
 253    Jure                    Yesica                          FL
 254    Kahnassa                Igal                            CA
 255    Kain                    Marcus                          KS

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 256    Kang                     Sung            Hwan           CA
 257    Karnuth                  Jaclyn          Ann            NY
 258    Kassebaum                Gregory         P.             FL
 259    Kassebaum                Maria                          FL
 260    Keelan                   Karyn                          WI
 261    Keiderling               Richard         E.             PA
 262    Kennedy                  Denise                         TX
 263    Kim                      Jae             Wook           AL
 264    Kim                      Juliet                         CA
 265    Kim                      Ran                            CA
 266    Kim                      Sang            Yoon           CA
 267    Kim                      Seok                           CA
 268    Kirishyan                Susie           Noemek         CA
 269    Koghan                   Regina                         CA
 270    Koghan                   Saul                           CA
 271    Koho                     KC                             MN
 272    Koho                     Nancy                          MN
 273    Koleda                   Ronald          A.             PA
 274    Kowalewski               Jill                           PA
 275    Krause                   Kay             F.             PA
 276    Krolczyk                 Daniel                         MI
 277    Krolczyk                 Joni                           MI
 278    Kuhn                     Angela          G.             CA
 279    Kuhn                     Timothy         Jay            CA
 280    Kukkola                  Michael         J.             OR
 281    Kutzfara                 John            C.             PA
 282    Kuzminova                Irina                          VA
 283    La Juan Moulton Spears   Mildred                        TX
 284    Laina                    Elise                          CA
 285    Laina                    James                          CA
 286    Lami                     Christopher     Paul           AL
 287    LaRosa                   James                          -
 288    Lasher                   Elizabeth                      AZ
 289    Lasher                   Richard                        AZ
 290    Lattimore                Trinita         Denise         CA
 291    Lavari                   Mahdis                         CA
 292    Le                       Khue                           CA
 293    Leap                     Lucille         R.             PA
 294    LeBrun                   Nancy           Herman         WI
 295    Lee                      James           K.             AL
 296    Lee                      Kwang           Sung           CA
 297    Lewis                    Thomas          Francis        MD
 298    Licerio                  Irma                           CA
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 299    Lim                     Byong            Hui            ME
 300    Lindsey                 Terri            Ann            TX
 301    Linke                   Elaine                          AZ
 302    Linke                   Steve                           CA
 303    Lobajeski               Sherry           Lynn           WI
 304    Loeser                  Beverlee                        MA
 305    Lopez                   Erica            G.             CA
 306    Luidy                   Doris            J.             PA
 307    Lutz                    Robert           L.             NY
 308    Ma                      Yindong                         CA
 309    Machorro                Cynthia          M.             CA
 310    Machorro                Jorge            I.             CA
 311    Mack                    Alexis                          FL
 312    Makhfi                  Mahin                           CA
 313    Malmrose                John                            SC
 314    Malone                  Larry                           NY
 315    Malsack                 Daniel                          WI
 316    Manzo                   Andres                          CA
 317    Marsh                   Matthew                         IL
 318    Martin                  Rachel           Elizabeth      SC
 319    Martin Jr.              Phillp           L.             SC
 320    Martins                 Jozua            Francois       FL
 321    Masukewicz              Lori             A.             RI
 322    Mayer                   Rhonda                          CA
 323    Mayeski                 Susan                           PA
 324    Maynard                 Ethel                           -
 325    McClure                 Amy                             PA
 326    McCollum                Ella                            TX
 327    McCombs                 Kathy                           AZ
 328    McCombs                 Roger                           AZ
 329    McCullough              Doug                            MO
 330    McGinn                  James            E.             IL
 331    McKenna                 Cynthia          C.             PA
 332    McKenna                 William          K.             PA
 333    McLean                  Dannieka         N.             VA
 334    McManus                 John                            NY
 335    Meartz                  Diane            E.             CA
 336    Meartz                  Jerry                           CA
 337    Meier                   Brenda           Phillips       MD
 338    Meredith                Pamela                          SC
 339    Meyers                  Jerome           A.             PA
 340    Meza                    Margie           L.             CA
 341    Mezzina                 Vincenza                        NJ

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  342    Miazga                 Philip                          OH
  343    Michela                Donald                          IL
  344    Mickes                 Carla             Kay           FL
  345    Mickes                 Michael           Raymond       FL
  346    Miller                 Olivia            H.            FL
  347    Mills                  Barbara                         SC
  348    Mills                  James             C.            TX
  349    Mills                  Susan             D.            TX
  350    Milne                  Stacy                           CA
  351    Mittal                 Ankur                           VA
  352    Mittal                 Ritu                            PA
  353    Montepeque             Otto                            CA
  354    Moore                  Cheryl            L.            VA
  355    Moore                  Donald                          CA
  356    Moore                  Kimberly          D.            OH
  357    Moore                  Robert            E.            OH
  358    Moore                  Suzanne                         CA
  359    Morel (Montgomery)     Alexandria                      CA
  360    Morgan                 Bruce                           PA
  361    Mori                   Sharon                          CA
  362    Morisette              Michelle                        CT
  363    Morris                 Heather                         SC
  364    Morrow                 Keith                           IL
  365    Mueller                Bernhard                        CA
  366    Napolitano             Marla             E.            KS
  367    Napolitano             Michael           J.            KS
  368    Nastasgewski           Roger                           FL
  369    Neese                  Gregor            T.            IN
  370    Negron                 Rosemary          M.            FL
  371    Nero                   Kenneth           M.            WA
  372    Newman                 Lauren                          WI
  373    Nguyen                 Viviene                         CA
  374    Norfleet               Carnetta                        CA
  375    Nourani                Neda                            CA
  376    Nunura                 Jorge                           CA
  377    Nunura                 Julie                           CA
  378    Olvera                 Kimberly                        CA
  379    Olvera                 Miguel                          CA
  380    Omon                   Randal                          HI
  381    Ortiz                  Raymond                         NY
  382    Ouellet                William                         CA
  383    Packard                Jean L.                         CA
  384    Padilla                Leonel                          CA

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  385    Padoan                 Arthur            Carlo         FL
  386    Parra                  Arlex                           CA
  387    Parra                  Victoria                        CA
  388    Partell                Kevin             F.            PA
  389    Paulina                Charles           A.            LA
  390    Peart                  Girlie                          FL
  391    Penner                 Jon                             CA
  392    Perez                  Jasmin            B.            CA
  393    Perez-Reyes            Epifanio                        CA
  394    Perrault               Kim                             AZ
  395    Perrotta               Roberto                         NY
  396    Piazza                 Karie                           TX
  397    Pimental               Alan              John          AZ
  398    Pine                   Jesse             Michael       TX
  399    Platz                  Shirley           R.            ID
  400    Polizzi                Kelley            L.            PA
  401    Porch                  Allison                         CA
  402    Posner                 Laura             S.            CA
  403    Price Jr.              Gaylord           L.            FL
  404    Principe               Craig             Matthew       NC
  405    Principe               Meredith          Mabe          NC
  406    Pryor                  Latoya                          VA
  407    Puthuff                Tamara                          CA
  408    Quandt                 Jeffrey           Edward        MD
  409    Quandt                 Joyce             Ann           MD
  410    Rahman                 Shabana                         NC
  411    Ramirez                Jennifer                        CA
  412    Ramos                  Linda                           CA
  413    Rani                   Mishal                          CA
  414    Record                 Raymond           H.            NH
  415    Ritter                 Kathrina          M.            PA
  416    Robinson               Lester            E.            OH
  417    Rodriguez              Danny                           NJ
  418    Rodriguez              Yilkania                        CT
  419    Roeseler               Elizabeth                       CA
  420    Roman                  Angela            Perez         CA
  421    Roman                  George                          CA
  422    Romero                 Roxanne                         CA
  423    Rose                   George            M.            MS
  424    Roskelly               Deborah                         CA
  425    Roskelly               Robert                          CA
  426    Rossi                  Robert                          CA
  427    Royal                  Regina                          NY

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  428    Ruega                  Laura                             CA
  429    Ruega                  Mahuel                            CA
  430    Ruhl                   Linda             Cheryl          GA
  431    Ruiz                   Mariana           Elideth         CA
  432    Ruiz                   Sergio                            CA
  433    Rusher IV              Ralph             Deward          FL
  434    Ryan                   Perry                             KY
  435    Ryan                   Teresa                            KY
  436    Saeedy                 Lyda              Camy            CA
  437    Saeedy                 Noah              Aria            CA
  438    Sahdev                 Nitin                             CA
  439    Saldana                Jessica                           CA
  440    San Jose               Estuardo          M.              CA
  441    Sanchez                Cecilia                           CA
  442    Sanchez                Ramiro                            CA
  443    Savore                 LaVonn (Vannie)   J.              WA
  444    Schabener              Barbara           M.              PA
  445    Schacht                Christina                         CA
  446    Schacht                James                             CA
  447    Schraad                Steven            J.              KS
  448    Schults                Rita              A.              WI
  449    Scott                  Darrell                           TN
  450    Scott                  Edna                              OH
  451    Scott                  Linda                             TN
  452    Scott                  Richard                           OH
  453    Seche                  Sergio                            CA
  454    Sheaffer               Neil                              OH
  455    Sherfey                Dedra             R.              CA
  456    Sherman                Suzanne                           GA
  457    Shipman                Harry             J.              PA
  458    Shovan                 Joe               Jr.             IL
  459    Silva                  Jovanna           Elizabeth Garay CA
  460    Sinclair               Gregory           P.              WI
  461    Singura                Thomas                            IL
  462    Sirois                 Mary              S.              NY
  463    Skidmore               Susan                             PA
  464    Skoff                  Molly                             MA
  465    Smith                  Darlene                           NC
  466    Smith                  Linda                             IL
  467    Smith                  Lorraine                          FL
  468    Smith                  Patricia                          NJ
  469    Smith                  Richard           H.              FL
  470    Smithson               Steven            E.              TX

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  471    Snowberger             Steven                          OH
  472    Snowden                Shelita                         CA
  473    Soto                   Alma                            CA
  474    Sparks                 Phyllis           E.            OH
  475    Spetrino               Anthony           P.            OH
  476    Spickard               Cheryl            R.            CA
  477    Starkey                Richard                         CA
  478    Stepp                  Larry             D.            TN
  479    Sterner                Lucian            E.            TX
  480    Stipes                 Kenneth           W.            VA
  481    Stolk                  Cynthia                         OH
  482    Stone                  Marie             M.            TX
  483    Stroly                 Walter            Andrew        FL
  484    Sung                   Orlando           Garcia        NJ
  485    Sweet                  Sandra                          NY
  486    Taylor                 Clayton           Patrick       CA
  487    Taylor                 Linda             Marie         CA
  488    Terrell                Richard           Wayne         TX
  489    Tham                   Rebecca                         PA
  490    Thomas                 Alan                            PA
  491    Thomas                 Carolyn           Dale          SC
  492    Thomas                 Helen                           MD
  493    Thomas                 Robert                          CA
  494    Thompson               Richard           Charles       DE
  495    Tierney                Terence           J.            IL
  496    Tobin                  Roy               N.            TX
  497    Tomey                  Patricia                        CA
  498    Toms, III              Everett           H.            VA
  499    Torchia                Cassandra                       CT
  500    Trang                  Tan               D.            CA
  501    Trinidad               Adrian                          CA
  502    Tsounakas              Eleni                           TX
  503    Uddin                  Anees                           TN
  504    Valentine              Vaughn            A.            WA
  505    Van Per Linde          Annette                         CA
  506    Vargas                 Hugo                            CA
  507    Vartanian              Michael                         CA
  508    Vasquez-Alcaraz        Fernando                        CA
  509    Vaughan                Christopher       A.            CA
  510    Vazquez                Hilda                           CA
  511    Velazquez              Guadalupe         R.            NY
  512    Venegas                Arthur                          CA
  513    Venegas                Marlene                         CA

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  514    Viita                  Pamela            R.            -
  515    Walden                 Elizabeth                       NC
  516    Walker                 Gail                            MS
  517    Walker                 Richard                         CA
  518    Ward                   Tanika                          CA
  519    Ward                   Vanessa                         CA
  520    Wasserman              Howard            J.            NJ
  521    Wayne                  Dennis                          HI
  522    Webman                 Lois                            MD
  523    Webster                Charles           Morgen        WA
  524    Wehmeier               Doress            M.            CA
  525    Weil                   Brandon           Scott         CA
  526    Weiler                 Ella              M.            IL
  527    Weiler                 Michael           G.            IL
  528    Weiss                  Steven            Robert        FL
  529    West                   Marilyn           L.            CA
  530    White                  Michael           W.            TX
  531    Williams               Hampton                         VA
  532    Williams               Tesha             Carletta      CA
  533    Williams               Tonya             S.            VA
  534    Williamson             Mary                            MO
  535    Wilson                 Benjamin                        CA
  536    Wittman                Debra             J.            PA
  537    Woods                  Jessica                         TX
  538    Wu                     Jack                            CA
  539    Yeschin                Neil                            CA
  540    Yingling               Pamela                          DE
  541    Yip                    Ming                            NJ
  542    Zamora                 Eduardo                         CA
  543    Zamora                 Graciela                        CA
  544    Zeitz                  Randall           M.            CA
  545    Zewe                   Deborah           A.            CA
  546    Zewe                   George            E.            CA




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 Kia Opt Out List

         Last Name                 First Name     Middle Name   State
  1      Abundis                   Antonio                      CA
  2      Abundis                   George                       CA
  3      Abutin                    Hermino                      CA
  4      Acosta                    Julio                        CA
  5      Acosta                    Rosa           M.            CA
  6      Adams                     Christine                    FL
  7      Adams                     Daniel                       FL
  8      Adelhelm                  Melba          Joan          CA
  9      Adelhelm                  Ronnie                       CA
  10     Aguilar                   Nestor                       CA
  11     Aguilera                  Mercedes       M.            CA
  12     Aguilera                  Rosa                         CA
  13     Aguirre                   Angelica                     CA
  14     Aguirre                   Ceferino                     CA
  15     Aiello                    Christine                    CA
  16     Aiello                    Justin                       CA
  17     Akridge                   Thomas                       KY
  18     Alani                     Mohamed                      CA
  19     Alcaraz                   Carmen                       CA
  20     Aldouri                   Hisham                       MO
  21     Aldouri                   Susan          Marie         MO
  22     Alfaro                    Walter                       CA
  23     Allen                     Gamaliel       L.            CA
  24     Allen                     Leslie         H             GA
  25     Almendarez                Clelia         R.            CA
  26     Alonso                    Olimpia                      CA
  27     Alquisiras - Valdovinos   Cristina       P.            CA
  28     Alvardo                   Jaime                        CA
  29     Alvarez                   Hermelinda                   CA
  30     Alvarez                   Stacey                       CA
  31     Anaya                     Salvador                     CA
  32     Anaya                     Vianey                       CA
  33     Anders                    James                        CA
  34     Andersen                  Donald         K.            IN
  35     Anderson                  Brea                         WV
  36     Andrews                   Cynthia                      MY
  37     Andrews                   Gerald         A             FL
  38     Andrews-Berry             Joanne                       MI
  39     Antolin                   Leonard                      CA

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  40     Aparicio               Lorenzo                         CA
  41     Arciniega              Gricelda                        CA
  42     Arent                  Gordon                          CT
  43     Arias                  Angel                           CA
  44     Armendariz             April                           CA
  45     Arnold                 Gayle             A.            KY
  46     Arnold                 Michael           J.            KY
  47     Aronson                Bruce                           CA
  48     Arroyo                 Graciela                        CA
  49     Arteaga                Omar                            CA
  50     Arthur                 Alex                            NY
  51     Asosta                 Ruben             Baez          CA
  52     Asrar                  Sayra                           CA
  53     Atilano                Lisa                            CA
  54     Audelo                 Alma                            CA
  55     Auguste                Lord              Georges       NY
  56     Avila                  Anidessy                        CA
  57     Ayala                  Rosaura                         CA
  58     Badillo                Andrea                          CA
  59     Badillo                Rafael                          CA
  60     Baker                  William           B             OH
  61     Baldwin                Frederick         H.            PA
  62     Banks                  Garthe                          CO
  63     Baran                  Anthony                         PA
  64     Baran                  Pamela                          PA
  65     Barilari               Elizabeth         Maria         FL
  66     Barillas               Guadalupe                       CA
  67     Barkduil               Laura             Christine     OH
  68     Barker                 Emily                           CA
  69     Barker                 Eric                            CA
  70     Barrett                Jeni              A.            CA
  71     Barton                 Ashanee           Michelle      PA
  72     Basquez                Rosie             M             CA
  73     Bassily                Alexander         Nabil         CA
  74     Bassily Sr.            Nabil                           CA
  75     Bateman                Arnold                          CA
  76     Bateman                Patricia                        CA
  77     Battle                 Candie                          CA
  78     Baylon                 Sherry                          CA
  79     Beals                  Seth                            CA
  80     Bean                   Betty             L.            TN
  81     Bearden                Martin            Allen         CA
  82     Beck                   Jeffery                         OR

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  83     Beck                   Monica                           OR
  84     Becker                 Ross                             VA
  85     Bedard                 Ryan                             CA
  86     Beeman                 Dennis                           MO
  87     Belanger               Elizabeth         Ann            OR
  88     Benavidez              Carolina                         CA
  89     Benavidez              Elizabeth                        CA
  90     Bennett                Brenda                           CA
  91     Bennett Jr.            Douglas           E.             CA
  92     Benson                 Spencer                          FL
  93     Benton                 Charles                          CA
  94     Berchenko              Gregory                          OH
  95     Bermudez               Daniel                           SC
  96     Berry                  Whitney           D.             CA
  97     Bertuglia              David                            CT
  98     Beru                   Lelina                           CA
  99     Bethel                 Sharon                           OK
  100    Bilalova               Tamila                           CA
  101    Billian                Anna              Sheen          TX
  102    Billiot                Judy              A              LA
  103    Blach                  Benjamin                         CA
  104    Blair                  Adam                             PA
  105    Blake                  Yoosuf                           CA
  106    Bland                  Lennon                           FL
  107    Bland                  Scott             Forrest        FL
  108    Blank                  Kim               Anh Michelle   CA
  109    Blanton                Dennis            Wayne          MO
  110    Blassio                Veronica                         CA
  111    Blazques               Michaela                         CA
  112    Blickley               Barbara           Lynne          PA
  113    Blocker                Brandi            Lee            AL
  114    Bluford                Jacquelyn                        CA
  115    Boaz                   Noel                             CA
  116    Bohorquez              Maria             Claudia        CA
  117    Bohorquez              Sebastian                        CA
  118    Bokoski                Paul              S.             MA
  119    Bolden                 Monique                          CA
  120    Booth                  Wayne             P.             TX
  121    Borges                 Adam              M.             CA
  122    Borusiewicz            Laura                            CA
  123    Borusiewicz            Ronald                           CA
  124    Boston                 Yolanda                          CA

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  125    Boswell                Mary              L.            TX
  126    Boutwell               Becky             S.            PA
  127    Boutwell Jr.           Brock             D.            PA
  128    Bower                  Craig             Allen         MS
  129    Bower                  Dawn              Adell         MS
  130    Bowman                 Jill                            CA
  131    Bradley                Jeffrey                         WV
  132    Braley                 Sharicka                        CA
  133    Brennan                Eva               Victoria      PA
  134    Brewer (Leger)         Melanie                         LA
  135    Brillman-Schnabel      Christine         A.            CA
  136    Brito                  Kelvin            J.            UT
  137    Brown                  Eric                            WI
  138    Brown                  Joel              A.            CA
  139    Brown                  Kari                            CA
  140    Brown                  Martessa          Hutchison     CA
  141    Brown                  Sonshara                        CA
  142    Bruce                  Sharlene          D.            AL
  143    Bruney                 Talitha                         NY
  144    Brustein               Asher             Jeremy        CA
  145    Bryant                 Penny                           NC
  146    Bunce                  Clint                           CA
  147    Bunce                  Kayla                           CA
  148    Burch                  Matthew           S.            CA
  149    Burciaga               Esperanza                       CA
  150    Burciaga               Pedro                           CA
  151    Burrell                Sandra                          MD
  152    Buttanda               Cecilia                         CA
  153    Buttram                Teresa            Y.            TN
  154    Byrnside               William           Cline         WV
  155    Cabada                 Joevany                         CA
  156    Cadena                 Aaron                           CA
  157    Calel                  Nehemias          Pelico        CA
  158    Calonge                Deborah           Baker         FL
  159    Camacho                Luis              A.            CA
  160    Cardenas               Josefina                        CA
  161    Carney                 Douglas           P.            PA
  162    Carrillo               Manuel                          CA
  163    Carrillo               Maria                           CA
  164    Carrillo               Rhiana            M.            CA
  165    Carson                 Margaret          Louise        CA
  166    Carter                 Warren            L.            CA
  167    Carter-Zammit          Marcia                          FL

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  168    Casas                  Emilce            Mejia         CA
  169    Casas                  Gabriel                         CA
  170    Casas                  Gracicia                        CA
  171    Casas (Soto)           Cinthia                         CA
  172    Casey                  Brian             F.            CA
  173    Casillas               Cristal                         CA
  174    Casselman              Nia               L.            CA
  175    Castaneda              Freddie                         CA
  176    Castellon              Gladys            M.            CA
  177    Castillo               Jasmin                          AL
  178    Castillo               Maria             O.            CA
  179    Catro                  Thelma            J.            NC
  180    Cattouse               Cheryl            S.            CA
  181    Cattouse               Purcell                         CA
  182    Cavazos                Aurelio                         CA
  183    Cavazos Jr             Alvaro                          CA
  184    Cazares                Mark              A.            CA
  185    Cedeno                 John              David         CA
  186    Cello                  Linda                           SC
  187    Cellucci               Theresa                         RI
  188    Cerca-Pantano          Jennifer          E.            PA
  189    Cervantez              Rebecca                         CA
  190    Cevallos               Cynthia           Griselda      CA
  191    Cevallos               Edwin                           CA
  192    Chance                 Jenny                           MS
  193    Chase                  Hilary                          CA
  194    Chase                  John                            CA
  195    Chesser                Bradley                         KY
  196    Chin                   Pearl             S.            NY
  197    Chmielowiec            Cathy             M             NY
  198    Cisarik                Nicolette                       IL
  199    Clendenin              Kay                             IL
  200    Clendenin              Michael                         IL
  201    Cline                  Ellen                           OH
  202    Cline                  Larry                           OH
  203    Cobb                   Sharon                          AL
  204    Cochran                Jerry             Ray           IL
  205    Collins                James             Patrick       VA
  206    Cooper                 Zabrina                         NY
  207    Cope                   Susan                           FL
  208    Cordova                Maria                           CA
  209    Cors                   Theodore          Michael       VA

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  210    Cortez                 Erbin             Alberto       CA
  211    Cortez                 Jose              M.            SC
  212    Coto                   Ana               G.            CA
  213    Cousins                Doris             E.            MT
  214    Cox                    Ruth                            CA
  215    Crawford               Donald                          CA
  216    Creamer                Jeanne            L.            NH
  217    Creighton              Stephanie                       CA
  218    Crouch                 Joshua                          CA
  219    Crowder                Lauren            E             CA
  220    Cruz                   Rubicely                        CA
  221    Cruz                   Wuilian           Esmit         CA
  222    Cruz Rodriguez         Marco             A.            CA
  223    Curiel                 Yolanda                         CA
  224    Daley                  Heather           L.            WA
  225    Damico                 Keely                           CA
  226    Daniel                 Henry             Jefferson     GA
  227    Darmohray              Olena                           CA
  228    Davenport              Derek             Leonard       CA
  229    Davis                  Arletta           V.            FL
  230    De Anda                Mallela                         CA
  231    De La Riva             Linda             Marie         CA
  232    De La Torre            Richard                         CA
  233    De Leon                Sonia                           CA
  234    De Luna                Claudia           E.            CA
  235    de Oliveira            Karay             Mariana       PA
  236    Decker                 Julie             Ann           MI
  237    DeClark                William           A.            WI
  238    Defay                  Nancy             Carole        AZ
  239    Del Real (Salas)       Carolina                        CA
  240    Del Toro               Claudia                         CA
  241    Del Toro               Jennifer                        CA
  242    Delgado                Gabriel                         CA
  243    Delgado                Laura                           CA
  244    Delgado                Ramon                           CA
  245    Della                  Gina              M.            OH
  246    Delves                 Barry             Rodney        NC
  247    Demieri                Debra                           CA
  248    Denato                 Peter                           OR
  249    Dennison               Mark                            CA
  250    DeRiso Riniker         Gina              B.            FL
  251    Derosier               Gene              Allen         TX
  252    Desenberg              Heather                         PA
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  253    Desorbo                Jeffrey                         CA
  254    Desorbo                Kelly                           CA
  255    Diamond                Kimberly                        NY
  256    Diaz                   Sandra            C.            CA
  257    Diaz                   Shivone           N.            CA
  258    Dichoso                Milagros                        KY
  259    Dickinson              David             Matthew       CA
  260    Dickinson              Virginia          Maria         CA
  261    Dirks                  Linda             L.            IA
  262    Dirks                  Stanley           A.            IA
  263    Dixon                  Christine         R.            IN
  264    Dixon                  Edward            A.            IN
  265    Dixon                  Richard                         CA
  266    Djeridi                Djamel                          TX
  267    Dominguez              Henry             Joseph        CA
  268    Drake                  Mary              J.            IL
  269    Drews                  Jason                           CA
  270    Drews                  Meredith                        CA
  271    Driscoll               Michael                         CA
  272    Driscoll               Rebecca                         CA
  273    Dukes                  Rickey                          CA
  274    Dunn                   Robert            E.            FL
  275    Dunn                   Susan             E.            FL
  276    Easley                 Karen                           IN
  277    Eaton                  Susan             Earlene       FL
  278    Echeverria             Missy                           CA
  279    Edwards                Amanda            F.            AL
  280    Edwards                Scott                           CA
  281    Efrece                 Rafael            Alberto       FL
  282    Efrig                  Suzette           A.            FL
  283    Ekonomou               Sophia                          PA
  284    Elachkar               Jennifer                        CA
  285    Eller                  Linda             Goodman       VA
  286    Eller                  William           Franklin      AL
  287    Ellison                Leon              E.            AL
  288    Elston                 Brittany                        OH
  289    Enriquez               Alicia                          CA
  290    Enriquez               Jose              L.            CA
  291    Ephraim                Vanessa                         CA
  292    Ervin                  Kevin             Matthew       CA
  293    Escalera               Paul              N.            CA
  294    Escalona               Manuel                          CA

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  295    Escalona               Rosa              M.            CA
  296    Escobar                Laura                           CA
  297    Escobar                Terry             Martinez      CA
  298    Escorsia               Eric                            CA
  299    Espinal                Gladys                          CA
  300    Espinal                Jimmy                           CA
  301    Esterly                Rachel                          TX
  302    Estrada                Gary                            CA
  303    Estrada                Isabel                          CA
  304    Estrin                 Janet             A.            PA
  305    Estrin                 Zachary           R.            PA
  306    Evans                  Timmy                           OH
  307    Every                  Carol                           FL
  308    Every                  Randall                         FL
  309    Fello                  Randy                           PA
  310    Ferretti               Anthony           C.            CA
  311    Fewel                  Eunju                           CA
  312    Fewel                  Michael                         CA
  313    Fields                 Spence                          CA
  314    Fierros                Cynthia                         CA
  315    Figari                 Oscar                           CA
  316    Finch                  D'Mario                         CA
  317    Fistonich              Karyn                           CA
  318    Fistonich              Matthew                         CA
  319    Fitzgerald             Gail                            CA
  320    Fitzgerald             Holly             Kaye          CO
  321    Fitzgerald             Maria                           VA
  322    Fitzgerald, Jr.        Samuel                          VA
  323    Flaherty               Donna             L.            PA
  324    Flaherty               Morgan            Francis       PA
  325    Fletcher               Laverne           Henderson     TX
  326    Flores                 Manuel                          CA
  327    Flores                 Randie                          CA
  328    Florindo               Lynne             M.            MA
  329    Floyd                  Bernice                         OH
  330    Floyd                  Wendy                           OH
  331    Forehan                Joseph                          CA
  332    Forrest                Robert            Eugene        AZ
  333    Foster                 Doyal             Freeman       AZ
  334    Foster                 Jennifer          S.            PA
  335    Foulks                 Frances           J             TN
  336    Franklin               Alton                           CA
  337    Franklin               Nikelle                         CA
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  338    Franklin               Alton                           CA
  339    Franks                 Rhonda                          CA
  340    Freier                 Curtis            L.            CA
  341    Freier                 Valerie                         CA
  342    Friend                 Betty                           WV
  343    Fucaloro               Thomas            A.            NJ
  344    Fularz                 Nolan             D.            PA
  345    Funez                  Victor            Manuel        CA
  346    Gamboa                 Josefina                        CA
  347    Gaponiuk               Sophia                          FL
  348    Garant                 Gayle                           RI
  349    Garcia                 Damas                           CA
  350    Garcia                 Daniel                          CA
  351    Garcia                 Ivan              Sebastian     CA
  352    Garcia                 Lizeth            Verdin        CA
  353    Garcia                 Mario             Landeros      CA
  354    Garcia                 Yvonne                          CA
  355    Garcia-Acevedo         Karen                           CA
  356    Gardner                Marcella                        OR
  357    Garfola                Andree            M.            FL
  358    Garnica                Marcella                        CA
  359    Gayford                Susan             Therese       FL
  360    Geban                  Kalika            G.            CA
  361    Getz                   Brandi                          FL
  362    Gibson-Strem           Denise                          CA
  363    Giles                  Heidi                           CA
  364    Goforth                Devan             A.            CA
  365    Gomez                  Eloise                          CA
  366    Gomez                  Mark                            CA
  367    Gomez                  Miguel            Chavez        CA
  368    Gomez                  Rosa                            CA
  369    Gonzales               Fidel             Aranda        CA
  370    Gonzalez               Albino                          CA
  371    Gonzalez               Antonio           Tovar         CA
  372    Gonzalez               Arnold                          CA
  373    Gonzalez               Geraldo           P.            CA
  374    Gonzalez               Joel              P.            CA
  375    Gonzalez               Johana                          CA
  376    Gonzalez               Luis                            CA
  377    Gonzalez               Mario             Alberto       CA
  378    Gonzalez               Oliva             Mora          CA
  379    Gonzalez               Peter                           CA

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  380    Gonzalez               Rina              Moratoya      CA
  381    Goodrich               Deborah                         CA
  382    Goore                  Richard           L.            CA
  383    Gorgita                Able                            CA
  384    Graham                 Shawnta           Maria         NC
  385    Grajeda-Jimenez        Rozella                         FL
  386    Granger                Michael                         WV
  387    Gratz                  Reda                            AZ
  388    Graves                 Bobby                           TX
  389    Graves                 Brenda                          TN
  390    Graves                 David             Maurice       TN
  391    Gray                   Katie             L.            NY
  392    Green                  Joynetta                        VA
  393    Greer                  Norman                          FL
  394    Gross                  Elizabeth         F.            TN
  395    Gu                     Yuejia                          IA
  396    Guerra                 Isidro                          CA
  397    Guerrero               Jeannette         Esquivel      CA
  398    Gutierrez              Carol                           TX
  399    Gutierrez              Daniel                          CA
  400    Gutierrez              Jose              de Jesus      CA
  401    Gutierrez              Lindsay           M.            CA
  402    Gutierrez              Raul                            CA
  403    Guzman                 Gustavo                         CA
  404    Guzman                 Nicolasa                        CA
  405    Guzman                 Sonia                           CA
  406    Hackett                Joyce             M.            NY
  407    Hall                   Melissa                         OH
  408    Haller                 Donna             D.            AR
  409    Hamilton               Rodney                          CA
  410    Hammonds               Indonesia                       CA
  411    Hammonds-Gentry        Chafegah          D.            CA
  412    Hampton                Victoria          Anne          LA
  413    Harris                 Barbara                         SC
  414    Harris                 James             A.            FL
  415    Harvey                 Kathy             Sue           TX
  416    Hashaway-Rhodes        Margret                         CA
  417    Hatch                  Stephen           M.            FL
  418    Hatfield (Webb)        Allison                         KY
  419    Hayes                  Anthony                         CA
  420    Hayes                  Nelita                          CA
  421    Hayes Sr               Howard            L             TN
  422    Haynes                 Aubrey            B             CA
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  423    Hays                   Mark                            CA
  424    Helstrom               Kristin           M.            CA
  425    Hemphil                Tamara            R.            CA
  426    Henkle                 Shirley           J.            TX
  427    Herd (Meza)            Sylvia                          CA
  428    Hermanson              Philip                          CA
  429    Hermenegildo           Virginia          Serena        CA
  430    Hernandez              Barbara                         CA
  431    Hernandez              Emelin            K.            CA
  432    Hernandez              Gabriela                        CA
  433    Hernandez              Gloria            I.            CA
  434    Hernandez              Michael                         CA
  435    Hernandez Jr.          Uriel                           AR
  436    Herrera                Francisco                       CA
  437    Herrera                Juana                           CA
  438    Heydon                 Jennifer          J.            CA
  439    Hightower              Dawn              M.            NY
  440    Hill                   Samantha                        FL
  441    Hixon                  David                           CA
  442    Hixon                  Lorinda           M.            CA
  443    Hoagland               Candice                         CA
  444    Hoagland               Howard                          CA
  445    Hoar                   John              Douglas       FL
  446    Holm                   Macalester        Clarke        MN
  447    Horby                  Janice            Annette       MN
  448    Horn                   Steven            J.            CA
  449    Horta                  Maria             S.            CA
  450    Howard                 Cynthia           R.            TN
  451    Howard                 Ferwanni          P.            CA
  452    Howard Jr.             Earl              J.            TN
  453    Howell                 Cecil             John          CA
  454    Hryadil                David             Michael       PA
  455    Huff                   James             F.            OH
  456    Huff                   Marva             E             OH
  457    Hughes                 Howard            F.            NY
  458    Hulberg                Linda             L.            CA
  459    Hurd                   Barbara           R.            CA
  460    Hutak                  Jodi              L.            CA
  461    Irwin                  Ted                             PA
  462    Isbell                 Licenia           F.            FL
  463    Jackson                Jeffrey           Scott         PA
  464    Jacobs                 Jimmy                           IL
  465    Jacoby                 Carrie                          CA
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  466    Jalali                 Yassaman                        CA
  467    James                  Harry             P.            CA
  468    James                  Linda             L.            CA
  469    Jamison                Desmond                         CA
  470    Jamison                Joyce                           CA
  471    Janicki                Thaddeus                        CA
  472    Jara                   Alan              J.            CA
  473    Jara                   Connie                          CA
  474    Jenkins                Benjamin                        CA
  475    Jens                   Corey                           CA
  476    Jensen                 Stephanie                       CA
  477    Jimenez                Isela                           CA
  478    Jimenez                Olivia                          CA
  479    Jimenez                Rafael            Ranget        CA
  480    Jimenez                Tomas                           NE
  481    Jimenez-Campos         Mario             H.            CA
  482    Johns                  Nathan            Daniel        GA
  483    Johnson                Aimee                           CA
  484    Johnson                Cheryl                          OH
  485    Johnson                Heidi                           CA
  486    Johnson                James             W.            GA
  487    Johnson                Tamara                          CA
  488    Johnson                Tyrek                           VA
  489    Jones                  Artina            H.            AL
  490    Jones                  Cheryl                          IL
  491    Jones                  Jane              R.            KY
  492    Jones-Kelley           Ayesha                          CA
  493    Joseph                 Denaire                         FL
  494    Juarez Jr.             Salvador                        CA
  495    Judkins                Michelle                        CA
  496    Kahn                   Michael                         CA
  497    Kaminer                Ann                             FL
  498    Kang                   Nam                             CA
  499    Karimighovanloo        Luisa                           IL
  500    Katibian               David                           CA
  501    Katibian               Sima                            CA
  502    Kauffman               Matthew                         CA
  503    Kaufman                Ann               M.            FL
  504    Kearney (Condia)       Peggy             S.            OH
  505    Keightley              Antoinette        C.            MD
  506    Kelley                 Linda                           WI
  507    Kemel                  Botros            C.            CA
  508    Kendall                Jeffrey           T.            OH

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  509    Kennedy                Sandra                          CA
  510    Kestler                Mary              Theresa       SC
  511    King                   Linda             Denise        PA
  512    Kinney                 Catherine                       OH
  513    Kinney                 Delicia                         CA
  514    Kinsman                Kevin                           TN
  515    Kirk                   Frank                           CA
  516    Kleve                  Stephanie                       MN
  517    Klingelsmith           Pamela            S.            SC
  518    Klingenberg            Cynthia                         CA
  519    Klingenberg            Danny                           CA
  520    Klomann                Candace           R.            AZ
  521    Koeller                James                           NV
  522    Koeller                Karen                           NV
  523    Kopp                   Dallas                          CA
  524    Kowalik                Robert                          NJ
  525    Krouse                 George                          MO
  526    Krouse                 Jeanne                          MO
  527    Kuhn                   Karen                           MS
  528    Kwiatkowski            Lawrence                        AZ
  529    Kwiatkowski            Nancy                           AZ
  530    La Torre               Carissa                         CA
  531    Lake                   Wind              W.            CA
  532    Lake (Stockton)        Delores           G.            CA
  533    LaMothe                Theresa                         FL
  534    Lane                   Billy             Wilson        NC
  535    Lane                   Jeffery           A.            MI
  536    Lanfranca              Shannon                         NJ
  537    Langarica              Manuel                          CA
  538    Lantz                  James                           MD
  539    Lantz                  Marianne                        MD
  540    LaRocco                Cary              P             IL
  541    LaRocco                Gina                            IL
  542    Lawrence               Sharlene                        NC
  543    Lawrence IV            Benjamin                        NC
  544    Layton                 Sherry                          CA
  545    Lea                    Brian             R.            CA
  546    Lea                    Lisa              L.            CA
  547    Leach                  Melanie                         CA
  548    Leach                  Michael                         CA
  549    Leal                   Jorge                           CA
  550    LeBlanc                Melinda                         CA
  551    Lebouef                Marion            M             LA
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  552    Lee                    Perry             Floyd         CA
                                                                NY
  553    Leiner                 James             F.            FL
  554    Lemaster               Donald            E             OH
  555    Lemmon                 Richard           S.            CA
  556    Lemus                  Raul                            CA
  557    Lenart                 Lesa                            TX
  558    Leon                   Christina                       CA
  559    Leon                   Raymundo                        CA
  560    Leone                  Louis                           OK
  561    Leone                  Nicholas                        OK
  562    Levanduski             Brian             D.            MN
  563    Levanduski             Kristine          M.            MN
  564    Lewis                  Angela            Guevara       CA
  565    Lewis                  Estela                          CA
  566    Lewis                  John                            CA
  567    Lewis                  Matthew                         CA
  568    Lewis                  Sharon                          CA
  569    Lien                   John              G.            FL
  570    Limon-Gonzalez         Gwendolyn                       CA
  571    Limon-Gonzalez         Pedro                           CA
  572    Linares                Hector                          CA
  573    Linke                  Steve                           CA
  574    Littlejohn             Cornell                         CA
  575    Littlejohn             Lindsay                         CA
  576    Littlejohn             Pamela                          CA
  577    Llerenas               Alejandro                       CA
  578    Llerenas               Monica                          CA
  579    Lobaugh III            Leslie            E.            CA
  580    Lombardi               John                            CA
  581    Lombardi               Marianne                        CA
  582    Long                   Timothy                         VA
  583    Looney                 Irvin                           CA
  584    Lopez                  Angel                           CA
  585    Lopez                  Audelia                         CA
  586    Lopez                  Bogard            Roque         CA
  587    Lopez                  Brenda                          CA
  588    Lopez                  Cristine                        CA
  589    Lopez                  Dayana                          CA
  590    Lopez                  Eduardo                         CA
  591    Lopez                  Erika                           CA
  592    Lopez                  Francisco                       CA
  593    Lopez                  Jamie                           CA

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  594    Lopez                  Javier                          CA
  595    Lopez                  Martin                          CA
  596    Lopez                  Nancy                           CA
  597    Lopez                  Pablo                           CA
  598    Lopez                  Paul                            CA
  599    Lopez-Robles           Gabriela                        CA
  600    Lorch                  Leah                            CA
  601    Losh                   Jill              D.            FL
  602    Loudin                 Donna                           WV
  603    Loudin                 Freddie                         WV
  604    Love                   Lisa              Kay           KS
  605    Low                    Shirlee           S.            CA
  606    Lowe                   Alfonso                         IL
  607    Lowe                   Megan             A.            NY
  608    Lozano                 Faustino          Alvizo        CA
  609    Lozano                 Tyler                           CA
  610    Lundberg               Robert                          CT
  611    Mackins (Rhodes)       Elon                            GA
  612    Madrid                 Rachel                          CA
  613    Magos                  Francisco                       CA
  614    Majzner                Becky                           MN
  615    Maldonado              Hector                          CA
  616    Maldonado              Paula                           CA
  617    Malin                  Stanley           S.            CA
  618    Mancia                 Ana               S.            CA
  619    Manzo                  Freddy                          CA
  620    Mapes                  Kevin             Thomas        CA
  621    Mariona                Blanca            G.            CA
  622    Mariona                Brenda                          CA
  623    Marquez                Edith                           CA
  624    Marquez                Ramon                           CA
  625    Martin                 Steven            M.            MN
  626    Martinez               Alexander                       CA
  627    Martinez               Alicia                          CA
  628    Martinez               Esaul                           CA
  629    Martinez               Norma                           CA
  630    Martinez               Oscar                           CA
  631    Mascal                 Keisha                          CA
  632    Mason                  Mary                            OH
  633    Masters                Pamila            J.            OH
  634    Matas Binoya           Maria             Dulce         MD
  635    Mattheu                Janice            Marie         WI
  636    May                    Karen             L.            NJ
                                      28
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  637    Mayes-Reynolds         Teresa                            NJ
  638    Mayo                   Ebonie            C.              IL
  639    McCartha               Renee                             SC
  640    McCarthy               Maureen           C.              NY
  641    McCauley               Joseph            R.              CA
  642    McCaulley              Sheletta                          OH
  643    McClairen              Phillip                           CA
  644    McClendon              Mary              Copeland        GA
  645    McCloskey              Joanne            W.              PA
  646    McCoy                  Chenita                           CA
  647    McDaniel               Cindy                             FL
  648    McDonald               Michelle                          CA
  649    McDonald               Scott                             CA
  650    McGalliard             Cora              Teresa          FL
  651    McGalliard             Ronald            James           FL
  652    McGillivray            Jason                             CA
  653    McGillivray            Jill                              CA
  654    McGuire                Kristina                          MI
  655    McKeand                Dennis            M               IL
  656    McKee                  Kirk              E.              CA
  657    McKee                  Patrick           E.              CA
  658    McKitrick              Robert                            FL
  659    McRae                  Laurie                            CA
  660    McSorley               James             M.              ME
  661    Medina                 Jose              Adrian Franco   CA
  662    Meenach                Brenda            G.              WV
  663    Mejia                  Aracely                           CA
                                                  Augusto
  664    Mejia                  Cesar             Grimaldo        CA
  665    Mejia                  Ingrid            Gavarette       CA
  666    Mejia                  Juana             Maribel         CA
  667    Melgoza                Eloisa                            CA
  668    Mellon                 Jason                             CA
  669    Mendez                 Hazel                             CA
  670    Mendoza-Navarro        Ana               L.              CA
  671    Menendez               Maria                             FL
  672    Menendez               Mario             Ramon           FL
  673    Merriner               Pilar             L.              CA
  674    Mesrobyan              Susan                             CA
  675    Meza                   Angel                             CA
  676    Meza                   Eliza                             CA
  677    Micciche               Cheyna                            CA
  678    Miguel                 Juventino         Carlos          CA

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  679    Mihatov                John              L.            TN
  680    Millan                 Oscar                           CA
  681    Miller                 Andrea            Lynn          WI
  682    Miller                 Carrie            Ann           KS
  683    Miller                 Cheryl                          CA
  684    Miller                 David                           IN
  685    Miller                 Deonna                          CA
  686    Miller                 Heather                         OH
  687    Miller                 Joan              A.            CO
  688    Miller                 Teresia                         IN
  689    Miller (Quinones)      Monica                          CA
  690    Mills                  Bethly                          CA
  691    Milone                 Anthony           V             PA
  692    Mingee                 Amanda            M.            VA
  693    Miranda                Matthew                         CA
  694    Mirante                Mauro                           CA
  695    Mokhtari               Reza                            CA
  696    Molina                 Esmeralda         del Carmen    CA
  697    Monsalve               Jose              O.            CA
  698    Montiel - Ibarra       Enedino                         CA
  699    Moonka                 Nishi                           CA
  700    Moore                  Linda                           CA
  701    Moore                  Lori              J.            NC
  702    Morales                Joana             Blancas       CA
  703    Morello                Ronald            Jeffery       CA
  704    Moreno                 Alicia                          CA
  705    Moreno                 Ruth              E.            CA
  706    Morgan                 Ecco                            CA
  707    Morris                 Roger                           MO
  708    Mota                   Hernan                          CA
  709    Motter                 Nicholas          Richard       PA
  710    Moya                   Maria                           CA
  711    Munoz                  Miguel            L.            CA
  712    Munoz                  Ruthie                          CA
  713    Murphy Jr.             Michael                         PA
  714    Myers                  Amelia                          CA
  715    Myers                  John                            CA
  716    Navarro-Garnica        Alexis            D.            CA
  717    Neff                   Martia                          WV
  718    Nelson                 Luciana                         MO
  719    Nelson                 Stacey            L.            CA
  720    Newton (Peacock)       Darlene                         CO
  721    Nichols                Jason             E.            OH
                                      30
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  722    Niusuamalie (Jeffers)   Jocelyn          Bahia         CA
  723    Noble                   Scott                          CA
  724    Null                    Eileen                         FL
  725    Nurmukhamedov           Komiljon                       UT
  726    Oaks                    Randy            C.            MO
  727    Ocampo                  Juan                           CA
  728    Ocheita                 Jeffrey          Alexander     CA
  729    Ochoa                   Yadria                         CA
  730    O'Daniel                Delores          Mae           KY
  731    O'Dell                  Erline (Fran)    Frances       OR
  732    Odom                    Deborah                        TX
  733    Odom                    Marvin                         TX
  734    Oganesyan               Arthur                         CA
  735    Ogden                   Lonnie                         TX
  736    Ogden                   Nancy                          TX
  737    Oley                    Ashley           M. Uthe       CA
  738    Olson                   Danielle                       CA
  739    Ondera                  Kyle                           OH
  740    Orozco-Carreon          Jose             E.            CA
  741    Orpilla                 Kris                           CA
  742    Ortega                  Thomas                         CA
  743    Ortiz                   Danny                          CA
  744    Ortiz                   Salvador                       CA
  745    Ortiz                   Shamara          Noriega       CA
  746    Ortloff Sr.             William          A.            AZ
  747    Osborn Chavers          Macie            E.            VA
  748    Osegura                 Miguel                         CA
  749    Otto Coetzer            Emile                          CA
  750    Overbeck                Cara                           FL
  751    Owens                   Timothy          Edwin         CA
  752    Pacheco                 Daniel                         CA
  753    Pagenkopf               Robert                         KS
  754    Pagenkopp               Jeffrey          S.            CA
  755    Pagenkopp               Patricia         A.            CA
  756    Paige                   Philip           A.            AZ
  757    Pailette                Carl                           LA
  758    Palma                   Auxiliadora      S.            CA
  759    Palma                   Carolina                       CA
  760    Palmberg                Eric                           CA
  761    Pantano                 Anthony          J.            PA
  762    Paquette                Joan                           MA
  763    Parks                   Andre                          IL
  764    Parnavelas              Athan                          CA
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  765    Parnavelas             Theodora                        CA
  766    Pascale                Melody                          GA
  767    Pasillas               Anthony                         CA
  768    Paslay                 Susan                           OK
  769    Patino                 Lourdes                         CA
  770    Patterson              Peggy                           AR
  771    Paulk                  Jeff                            OK
  772    Pecuch                 Katelyn                         PA
  773    Penaloza               Pedro                           CA
  774    Peralta                Elena                           CA
  775    Peralta (Morillon)     Jose                            CA
  776    Perez                  Alfred            F.            CA
  777    Perez                  Francisco                       CA
  778    Perez                  Jorge             Julian        CA
  779    Perez                  Ricardo                         CA
  780    Perez                  Silvia                          CA
  781    Perkins                Lee               R.            MO
  782    Perry-Jackson          Sabrina           L.            IL
  783    Petrone                Pamela            Ann           RI
  784    Pickering              Frank                           AL
  785    Pineda                 Alex              M.            CA
  786    Pistole                Tamara                          MO
  787    Pitones                Isaac                           CA
  788    Pitts                  Melissa           A.            TX
  789    Pollock                Christine                       CA
  790    Pollock                Derrick                         CA
  791    Ponce                  Diana                           CA
  792    Poncho                 Kimberly          N.            TX
  793    Porter                 Dawn                            CA
  794    Porter                 Douglas                         CA
  795    Porterfield            Lorri             L             PA
  796    Powell                 Cree                            CA
  797    Pozzi                  Alecsandro        P.            CA
  798    Preza                  Jose              R.            CA
  799    Prisco                 Beverly           S.            PA
  800    Proa                   Sergio                          CA
  801    Puga                   Salvador                        CA
  802    Puga                   Setter                          CA
  803    Pumpelly               Elyssa                          CA
  804    Quesada                Frank             D.            CA
  805    Quinney                Velner            John          CA
  806    Quintana               Gerardo                         CA


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                                                  Guadalupe
  807    Quintero               Maria             Barajas       CA
  808    Rabadi                 Sandy                           CA
  809    Radtke                 Holli             Ann           WI
  810    Rahbari                Cyrus                           CA
  811    Rainwater              Taylor            Grant         AR
  812    Rakar                  Dale                            NM
  813    Ramirez                Jocelyn                         CA
  814    Ramirez                Veronica                        CA
  815    Ramirez-Perez          Jorge             A.            CA
  816    Ramos                  Daisy                           CA
  817    Ramos                  Israel                          CA
  818    Ramos                  Maria             D.            CA
  819    Rauhut                 Mark              William       WA
  820    Rawlings               Whitney                         CO
  821    Rector                 Rebecca           S.            NC
  822    Redden                 Karen             Sue           OK
  823    Redick                 Lindsay           A             OH
  824    Reichenbach            Kenneth                         PA
  825    Reif                   Thomas                          NJ
  826    Renner                 Michelle          C.            CA
  827    Restrepo               Henry             R.            NJ
  828    Reuther                Jean                            FL
  829    Reyes                  Deborah           A.            FL
  830    Reynolds               Leslie            L             TN
  831    Richards               Darlene           Terese        HI
  832    Richardson             George            J.            DE
  833    Richie                 Xavier                          CA
  834    Riewe                  Cynthia Ann                     TX
  835    Riewe                  Roy Dale                        TX
  836    Riggs                  Randall           W             OK
  837    Rivera                 Ashley            Renee         CA
  838    Rivera                 Estrella          G.            CA
  839    Rivera                 Heriberto                       FL
  840    Roach                  Bernadette        Ann           TX
  841    Roberts                Julie                           TN
  842    Roberts                Telly             F             CA
  843    Robinson               Arlene            A.            PA
  844    Robinson               Keith             R.            PA
  845    Rocha                  Javier                          CA
  846    Rocheleau              Daniel            R.            WI
  847    Rocheleau              Lisa              M.            WI

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  848    Rodas                  William           Iraheta A.    CA
  849    Rodriguez              Irasema                         CA
  850    Rodriguez              Jose                            CA
  851    Rodriguez              Kristy                          CA
  852    Rodriguez              Manuel                          CA
  853    Rodriguez              Maria             E.            CA
  854    Rodriguez              Oscar                           CA
  855    Rodriguez              Rafael            A.            CA
  856    Rodriguez              Sonia                           CA
  857    Rodriguez              Wendy                           CA
  858    Rodriguez Ortega       Pablo                           CA
  859    Rogers                 Rosemary                        CA
  860    Rojas, Jr.             Alfonso                         CA
  861    Roman Jr.              Alfonso                         CA
  862    Romanillo              Damaris                         CA
  863    Romano Orrego          Fernando          A.            CA
  864    Romero                 Gilberto                        CA
  865    Romero                 Nicole                          CA
  866    Rosales                Bertha                          CA
  867    Rosales                Iris                            CA
  868    Ross                   Ronnie            Willis        FL
  869    Roudebush              Allan             Brooks        CA
  870    Roundy                 Debra             A.            TX
  871    Roundy                 Roger             L.            TX
  872    Rowen                  Christle          Dawn          ID
  873    Rubalcava              Erick             A.            CA
  874    Rubalcava              Monica            A.            CA
  875    Rubio                  Belinda           Navarro       CA
  876    Ruiz                   Gerardo                         CA
  877    Ruiz                   Lupe                            CA
  878    Ruiz                   Oskar                           CA
  879    Russek                 Philip                          FL
  880    Russell                Sonia             Renee         GA
  881    Russell                Tracy                           CA
  882    Ruttenberg             Paul              M.            FL
  883    Saavedra               Frances                         CA
  884    Safrit                 Barbara           Draughs       NC
  885    Sainz                  Manuel                          CA
  886    Sainz                  Maria                           CA
  887    Salazar                Anthony                         CA
  888    Salazar                Ruth              E.            CA
  889    Salazar                Vanessa           M.            CA
  890    Sanchez                Adela                           CA

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  891    Sanchez                Luis                            CA
  892    Sanchez                Robert                          CA
  893    Sanchez                Shannon                         CA
  894    Sanchez                Viviana                         CA
  895    Sandoval               Mary                            CA
  896    Sands                  David             A.            CA
  897    Santamaria             Jorge             Ventura       CA
  898    Santana                Gaudelia                        CA
  899    Santos                 Juan              F.            CA
  900    Santos                 Rosa                            CA
  901    Sautner                Zenobia                         NJ
  902    Savage                 Charless          Lee           TX
  903    Sawyers                Marston                         CA
  904    Sawyers                Tom                             CA
  905    Schafer                Marion            M.            PA
  906    Schaufuss              Deva                            CA
  907    Schell                 Mark              A.            GA
  908    Schexnyder             Billie                          LA
  909    Schlegel               Brent                           OH
  910    Schnabel               Steven            C.            CA
  911    Schooley               Andra                           IN
  912    Schulz                 Ricky             E.            MO
  913    Schweighardt           Nancy                           AZ
  914    Scott                  Lindsay           M.            AZ
  915    Scott Sr.              Losten            Albert        TX
  916    Sepulveda              Sadie                           CA
  917    Shaia                  Isidra                          CA
  918    Shaikh                 Abdulgani         U.            CA
  919    Shea                   Kari                            CA
  920    Shellabarger           Jana                            FL
  921    Sherman                Pamela            Kay           NC
  922    Shifflet               Cheryl                          AL
  923    Silva                  Mariel                          CA
  924    Simmons                Joshua                          CA
  925    Simms                  Gene              R.            FL
  926    Singare                Mohamed                         NV
  927    Singh                  Criselle                        CA
  928    Singh                  Renu                            CA
  929    Sinnock                Steven            K             IL
  930    Sisco                  August            L.            IL
  931    Skidmore               Alexis                          IA
  932    Slack                  Bernard                         CA
  933    Slack                  Jeannie                         CA
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  934    Smith                  Amber             Kaiser        LA
  935    Smith                  Amy               Lynn          PA
  936    Smith                  Ashley            A             CA
  937    Smith                  Bonnie            K.            NM
  938    Smith                  Cathy             R.            SC
  939    Smith                  David                           PA
  940    Smith                  Demetri           Dachone       TX
  941    Smith                  Dustin                          CA
  942    Smith                  Michael           A.            CA
  943    Smith                  Robert                          OH
  944    Snyder                 Daniel            K.            AW
  945    Snyder                 Joan              A.            WA
  946    Solorzano              Irene                           CA
  947    Son                    Jung                            CA
  948    Song                   Jim                             CA
  949    Soto                   Sylvia                          CA
  950    Soto Jr.               Jesus                           CA
  951    Spellman               Leslie            E.            CA
  952    Spetrino               Kimberly          A.            OH
  953    Sprattling             David                           CA
  954    Springer               Barbara           Jean          CA
  955    Springer               Rolf                            CA
  956    Stachowicz             Kim Anne          Garrison      ID
  957    Stankey                Connie            J.            MN
  958    Steacker               Joseph                          PA
  959    Steinmann              Kathy                           FL
  960    Sterner                Christina                       CA
  961    Stiles (Erickson)      Brandi                          CA
  962    Stone                  Jessica                         CA
  963    Stone                  Suzy                            CA
  964    Strem                  Bruce                           CA
  965    Strings                Cynthia                         CA
  966    Strings                Justin                          CA
  967    Strings                Mark                            CA
  968    Sullivan               Robert                          GA
  969    Tabb                   Doreen                          PA
  970    Tabellion              Clinton           J.            OH
  971    Tan                    Olivia                          CA
  972    Tate Sr.               Larry             W.            TN
  973    Teems                  Adrenne                         CA
  974    Teller                 Sara                            MI
  975    Tellez                 Dolores           Lorraine      AZ
  976    Tengco                 Ryan                            CA
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  977    Terrazas               Ana               R.            CA
  978    Terrazas               Juan              A.            CA
  979    Thomas                 Elizabeth         Kay           FL
  980    Thompson               Sara              B.            SC
  981    Thorne                 Betty                           SC
  982    Threatt                Christopher                     AL
  983    Tislau (Solorzano)     Lisa                            CA
  984    Titus                  Lucinda                         CA
  985    Titus                  Scott                           CA
  986    Tobia                  Alan                            CA
  987    Tobia                  Glenda                          CA
  988    Torres                 Diane                           CA
  989    Torres                 Edwin                           FL
  990    Torres                 Eriberto                        CA
  991    Torres                 Gustavo                         CA
  992    Torres                 Maria             Isabel        CA
  993    Torres                 Miriam                          CA
  994    Torres                 Norma             A.            CA
  995    Torres                 Rosemary                        CA
  996    Torres, Jr.            Jose                            CA
  997    Trail                  Peach             R.            NC
  998    Treadway               Marie             Alayne        CT
  999    Trim                   Anna                            TX
  1000   Truffa                 Christine         Elizabeth     TX
  1001   Trujillo               Cesar             Navarro       CA
  1002   Trumm                  Betty             Ann           MN
  1003   Tucker                 Joy                             CA
  1004   Tudisco                Marie                           NJ
  1005   Turner                 Aston                           GA
  1006   Twerdochlib            Cynthia           Myers         FL
  1007   Twerdochlib            Michael                         FL
  1008   Ubungen                Albert                          CA
  1009   Ubungen                Rebecca                         CA
  1010   Ulitsch                Jennifer                        FL
  1011   Valdez                 Gonzalo                         CA
  1012   Valdovinos             Luis                            CA
  1013   Valdovinos - Rosales   Maria             Del Carmen    CA
  1014   Valencia               Freddy            H.            CA
  1015   Valenzuela             Hipolito                        CA
  1016   Valenzuela             Maria             G.            CA
  1017   VanCamp                Mary              E.            CA
  1018   VanCamp                William           P.            CA
  1019   Vandaniker             Eddie                           CA

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  1020   Vandaniker             Nicole                          CA
  1021   Vanderschans           Billy                           CA
  1022   Vanderschans           Jennifer                        CA
  1023   Vargas                 Judith            K.            CA
  1024   Vargas                 Maria                           CA
  1025   Vargas                 Ramon                           CA
  1026   Vasagov                Vanessa           Rose          CA
  1027   Vasey                  Amy                             NE
  1028   Vasquez                Sandra                          CA
  1029   Vaughn                 Theresia                        AZ
  1030   Vazquez                Luis                            CA
  1031   Vejar                  Cristina                        CA
  1032   Vela                   Maria             P.            CA
  1033   Velez                  Manuel                          NY
  1034   Venegas                Michael                         CA
  1035   Ventrelli              Richard           Guy           MN
  1036   Vera                   Hope                            CA
  1037   Verduzco               Cecilia                         CA
  1038   Verduzco               Margarita                       CA
  1039   Verduzco               Victor                          CA
  1040   Vickers-Teasley        Sharnae           Lagail        PA
  1041   Vidrio                 Catherine                       CA
  1042   Vidrio                 Maria             D.            CA
  1043   Villalva               Aidel                           CA
  1044   Villalva               Nancy             Renteria      CA
  1045   Villasenor             Raul                            CA
  1046   Visintainer            Valerie           Merle         GA
  1047   Vitela                 Carlos                          VA
  1048   Vitela                 Lucia                           VA
  1049   Vizcarra               Julio             C.            CA
  1050   Vogelsang              Steve                           CA
  1051   Votaw                  Audine                          CA
  1052   Waco                   Jeffery           K.            CA
  1053   Wade                   Dwight            Jefferey      GA
  1054   Wagner                 Herman            Floyd         CA
  1055   Walker                 Antonio           Darall        GA
  1056   Wallace III            Steven            K.            PA
  1057   Walters                Marlene           J.            IL
  1058   Walther                Richard           Bruce         OR
  1059   Ward                   Angela                          CA
  1060   Wargo                  Kimberly                        CA
  1061   Wargo                  Paul                            CA
  1062   Wasson                 Cynthia           L             CO

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  1063   Wasson                 Elizabeth                       FL
  1064   Wayman                 Brenda            L.            NY
  1065   Wayman Jr.             Stephen           I.            NY
  1066   Webb                   Amber                           CA
  1067   Webb                   Amber             Danielle      CA
  1068   Weger                  Marilyn                         CA
  1069   Weger                  Micah                           CA
  1070   Weintraub              Gerald                          CA
  1071   Wertz                  Shane             D.            PA
  1072   West                   Brittany          E. Faith      OR
  1073   Whitaker               Carolyn                         IN
  1074   White                  Daryl                           CA
  1075   White                  Karen             M             CT
  1076   Whitlow                Carrie            Ann           CA
  1077   Whitlow                Terry                           CA
  1078   Whitten                Robert                          CA
  1079   Wilbourn Walker        Latanya           Lynn          CA
  1080   Wilbur                 Mark              Vernon        TX
  1081   Wilkerson              Elke                            CA
  1082   Wilkerson              Melanie           S.            CA
  1083   Wilkey                 Alison            Benedict      MA
  1084   Wilkie                 Karen                           CA
  1085   Wilkie                 Michael           Wayne         NC
  1086   Wilkie                 Richard                         CA
  1087   Willbourn              Sally             Ann           CA
  1088   Williams               Bryon             S.            CA
  1089   Williams               David             L.            NV
  1090   Williams               David             E.            CA
  1091   Williams               George                          CA
  1092   Williams               Gloria                          CA
  1093   Williams               Jessica           M.            OH
  1094   Williams               Kimberly                        CA
  1095   Williams (Adkins)      Casaundra                       IN
  1096   Wills                  Danny             Walter        TX
  1097   Wilson                 Jimmie            K.            TX
  1098   Winkelman              Barbara                         OH
  1099   Withee                 Mary              L.            TX
  1100   Wood                   Brian             D.            CA
  1101   Wood                   Lisa              I.            CA
  1102   Wood                   Sandra                          CA
  1103   Woods                  Alexandria                      OH
  1104   Wright                 Kristina                        SC
  1105   Yako                   Eddie             B.            CA

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  1106   Yako                   Justine                         CA
  1107   Yang                   Cho                             CA
  1108   Yao                    Lynda                           CA
  1109   Yerraji                Jeevan            Prakash Rao   CA
  1110   Yoon                   Choon             Sil           CA
  1111   Young                  Marcus            Dwayne        MD
  1112   Younger                Crystal                         FL
  1113   Yu                     Mi                Kyung         CA
  1114   Yu                     Seok                            CA
  1115   Zammit                 Victor            A.            FL
  1116   Zamora                 Alejandro                       CA
  1117   Zelik                  Daniel                          OH
  1118   Zermeno                Nancy                           CA
  1119   Zhou                   Wanpian           Vince         CA




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